                     UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF TENNESSEE
                          NASHVILLE DIVISION


UNITED STATES OF AMERICA             )
                                     )
                 v.                  )    NO.    3:12-00013
                                     )
SITHANA KEONOI                       )

                                O R D E R


           Defendant Sithana Keonoi, through counsel, has filed his

motion for an order directing the U.S. Marshals Service to change

the location of his pretrial detention to an alternative facility

other than Grayson County Detention Center (Docket Entry No. 77).

As grounds for this motion, defendant Keonoi states the following:

           1.    That his girlfriend, who resides in Nashville,

Tennessee, is approximately 9 months pregnant and is therefore

unable to travel to see him at the Grayson County Detention Center;

           2.    That defendant’s family is located in Nashville,

Tennessee, and his appointed counsel is located in Montgomery

County, Tennessee, and that the relocation of defendant’s detention

to Robertson County or Davidson County, Tennessee, would be more

convenient to defendant’s family and his counsel.

           The undersigned Magistrate Judge acknowledges that the

U.S. Marshals Service, which has the responsibility for housing

pretrial detainees, must take into account multiple considerations

when deciding where a particular detainee shall be placed. This is

especially true in cases like this one, where there are multiple




 Case 3:12-cr-00013   Document 82   Filed 01/23/12   Page 1 of 2 PageID #: 128
defendants.     These factors that the Marshals Service is required

to consider are often not reflected in the Court record, nor are

they   otherwise      known   to   the    undersigned    Magistrate      Judge.

Accordingly, the Court is reluctant to meddle in the Marshal’s

business when it comes to placing pretrial detainees absent an

extraordinary showing of need.           The undersigned Magistrate Judge

finds that making visitation with defendant Keonoi somewhat more

convenient for his girlfriend, family and his counsel does not

constitute such an extraordinary need.

           For the foregoing reason, defendant Keonoi’s motion is

DENIED.

           It is so ORDERED.

                                           s/ John S. Bryant
                                           JOHN S. BRYANT
                                           United States Magistrate Judge




 Case 3:12-cr-00013    Document 82   Filed 01/23/12   Page 2 of 2 PageID #: 129
